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                             Application for Multi-Court Exemption from the
                         Judicial Conference's Electronic Public Access (EPA) Fees
1.) I am requesting an exemption from fees for public access to electronic case records for the courts
selected below:
 Courts of Appeal                              Bankruptcy Appellate Panels (BAP)
        All Courts of Appeal     Seventh Circuit        First Circuit - BAP
        First Circuit            Eighth Circuit         Sixth Circuit - BAP
        Second Circuit           Ninth Circuit          Eighth Circuit - BAP
        Third Circuit            Tenth Circuit          Ninth Circuit - BAP
        Fourth Circuit           Eleventh Circuit       Tenth Circuit - BAP
        Fifth Circuit            D.C. Circuit
        Sixth Circuit            Federal Circuit

  District Courts
        All District Courts
        Alabama Middle           Illinois Northern      Nebraska                   Rhode Island
        Alabama Northern         Illinois Central       Nevada                     South Carolina
        Alabama Southern         Illinois Southern      New Hampshire              South Dakota
        Alaska                   Indiana Northern       New Jersey                 Tennessee Eastern
        Arizona                  Indiana Southern       New Mexico                 Tennessee Middle
        Arkansas Eastern         Iowa Northern          New York Eastern           Tennessee Western
        Arkansas Western         Iowa Southern          New York Northern          Texas Eastern
        California Central       Kansas                 New York Southern          Texas Northern
        California Eastern       Kentucky Eastern       New York Western           Texas Southern
        California Northern      Kentucky Western       North Carolina Eastern     Texas Western
        California Southern      Louisiana Eastern      North Carolina Middle      Utah
        Colorado                 Louisiana Middle       North Carolina Western     Vermont
        Connecticut              Louisiana Western      North Dakota               Virgin Islands
        Delaware                 Maine                  Northern Mariana Islands   Virginia Eastern
        District of Columbia     Maryland               Ohio Northern              Virginia Western
        Florida Middle           Massachusetts          Ohio Southern              Washington Eastern
        Florida Northern         Michigan Eastern       Oklahoma Eastern           Washington Western
        Florida Southern         Michigan Western       Oklahoma Northern          West Virginia Northern
        Georgia Northern         Minnesota              Oklahoma Western           West Virginia Southern
        Georgia Middle           Mississippi Northern   Oregon                     Wisconsin Eastern
        Georgia Southern         Mississippi Southern   Pennsylvania Eastern       Wisconsin Western
        Guam                     Missouri Eastern       Pennsylvania Middle        Wyoming
        Hawaii                   Missouri Western       Pennsylvania Western
        Idaho                    Montana                Puerto Rico
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    Bankruptcy Courts
           All Bankruptcy Courts
           Alabama Middle                  Illinois Northern                   Nebraska                             Rhode Island
           Alabama Northern                Illinois Central                    Nevada                               South Carolina
           Alabama Southern                Illinois Southern                   New Hampshire                        South Dakota
           Alaska                          Indiana Northern                    New Jersey                           Tennessee Eastern
           Arizona                         Indiana Southern                    New Mexico                           Tennessee Middle
           Arkansas Eastern                Iowa Northern                       New York Eastern                     Tennessee Western
           Arkansas Western                Iowa Southern                       New York Northern                    Texas Eastern
           California Central              Kansas                              New York Southern                    Texas Northern
           California Eastern              Kentucky Eastern                    New York Western                     Texas Southern
           California Northern             Kentucky Western                    North Carolina Eastern               Texas Western
           California Southern             Louisiana Eastern                   North Carolina Middle                Utah
           Colorado                        Louisiana Middle                    North Carolina Western               Vermont
           Connecticut                     Louisiana Western                   North Dakota                         Virgin Islands
           Delaware                        Maine                               Northern Mariana Islands             Virginia Eastern
           District of Columbia            Maryland                            Ohio Northern                        Virginia Western
           Florida Middle                  Massachusetts                       Ohio Southern                        Washington Eastern
           Florida Northern                Michigan Eastern                    Oklahoma Eastern                    Washington Western
           Florida Southern                Michigan Western                    Oklahoma Northern                   West Virginia Northern
           Georgia Northern                Minnesota                           Oklahoma Western                    West Virginia Southern
           Georgia Middle                  Mississippi Northern                Oregon                              Wisconsin Eastern
           Georgia Southern                Mississippi Southern                Pennsylvania Eastern                Wisconsin Western
           Guam                            Missouri Eastern                    Pennsylvania Middle                 Wyoming
           Hawaii                          Missouri Western                    Pennsylvania Western
           Idaho                           Montana                             Puerto Rico

National Courts
         Judicial Panel on                   U.S. Court of                 U.S. Court of
         Multidistrict Litigation            Federal Claims                International Trade

                                                          The Insitute of Intergovernmental Relations at Queens’
2.) I am an individual associated with                    University

3.) Please summarize why the case information from the Public Access to Court Electronic Records
(PACER) service is needed and how it will be used. Also, please explain why an exemption from
the courts identified is necessary. If you need more space, please provide in an attachment.
 The Insitute of Intergovernmental Relations at Queens University is working on a research program that closely examines the three forms of
global financial crime (offshore tax evasion, international money laundering and terrorist financing). To address the research questions within this
project, we require access to case information from the PACER service. Case information will be used to collect data and support our hypotheses.
We are asking for continued access to PACER as the service aided our research findings last summer. The questions PACER will be used to
answer are as follows: 1. What law, policy or enforcement regime is lacking that allows for large amounts of funds to be masked and transmitted
across borders?
2. What is the illicit relationship between offshore tax havens and global financial crime?
3. Which international regions are hotbeds for illicit funds transferred through Canada and
other countries?
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4.) In support of this application, I affirm the following:
     a) An exemption from the Judicial Conference's EPA Fee is necessary in order to avoid
     unreasonable burdens and to promote public access to information.
     b) That the exemption will be for a definitive period of time:   February 2022- Septemeber 2022

     c) I understand that this fee exemption will apply only to me, will be valid only for the purposes
     stated above, and will apply only to the electronic case files of the court(s) indicated above that are
     available through the PACER service.
     d) I agree that any data received through this exemption will not be sold for profit, will not be
     transferred, will not be used for commercial purposes, and will not be redistributed via the Internet.

      Declaration: I declare that all the above information is true and understand that a false statement
 ✖    may result in termination of my exempt access and an assessment of Electronic Public Access
      usage fees. (The box must be marked or your request will not be considered)


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Applicant's Printed Name
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                                                          Robert Sutherland Hall, Room 412. 138 Union St.
Applicant's Title
                                                          Applicant's Mailing Address
                                                          Kingston                         ON      K7L 3N6
                                                          City                             State   Zip Code
Applicant's Signature
                                                                                           February 24, 2022

     Add Attachment                                                                        Date

     Submit by Email


Please submit your completed, signed request via email to Multi-CourtExemptions@ao.uscourts.gov
or by mail to:
Attention: Multi-Court Exemptions
Court Programs Division
DPS-CSO-PRGD
One Columbus Circle, N.E.
Washington, DC 20544

            ** Requests sent through the US mail may take up to two weeks to clear security.**
